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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LUIS IVAN POBLETE,                            :
                                              :
                      Plaintiff,              :
                                              :
                      v.                      :       Civil Action No.:      09-0286 (RMU)
                                              :
INDYMAC BANK et al.,                          :
                                              :
                      Defendants.             :

                                   MEMORANDUM OPINION

                     DISMISSING THE CASE FOR FAILURE TO PROSECUTE

       The plaintiff, through counsel, commenced this action in the Superior Court of the

District of Columbia on January 27, 2009. See generally Compl. The action was removed to this

court on February 12, 2009, see Notice of Removal, and defendant Ocwen Loan Servicing, LLC

(“Ocwen”) moved to dismiss shortly thereafter, see generally Def. Ocwen’s Mot. to Dismiss.

Defendant United Security Financial (“USF”) subsequently filed a separate motion to dismiss.

See generally Def. USF’s Mot. to Dismiss.

       In April 2009, the court temporarily stayed the case after learning that the plaintiff’s

counsel had been disbarred. See Minute Order (Apr. 2, 2009). New counsel entered his

appearance on the plaintiff’s behalf in July 2009, see Notice of Appearance (July 9, 2009), and

simultaneously moved for a second stay of the case to afford him an opportunity to prepare his

response to the motions to dismiss; see Pl.’s Mot. to Stay. The court granted that motion and

stayed the case until August 7, 2009. See Minute Order (July 13, 2009).

       After the defendants’ motions to dismiss had been fully briefed, the court issued a

memorandum opinion treating defendant Ocwen’s motion to dismiss as one for summary
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judgment, granting that motion and granting in part and denying in part defendant USF’s motion

to dismiss. See generally Mem. Op. (Sept. 28, 2009). On October 7, 2009, defendant USF filed

a motion for clarification or reconsideration of the court’s denial of its motion to dismiss as to

count three of the complaint. See generally Def. Ocwen’s Mot. for Clarification. The plaintiff

filed no response to that motion.

       The plaintiff’s counsel subsequently filed a motion to withdraw as attorney for the

plaintiff, explaining that the plaintiff had advised counsel that he would “no longer require

[counsel’s] representation.” Pl.’s Mot. to Withdraw at 1. On April 14, 2010, the court granted

the motion, stayed the case for a third time and gave the plaintiff until May 14, 2010 to have new

counsel enter his appearance on his behalf. See Minute Order (Apr. 14, 2010).

       On July 6, 2010, the court issued an order directing the plaintiff to show cause in writing

on or before August 10, 2010, why this case should not be dismissed for failure to prosecute. See

generally Order to Show Cause (July 6, 2010). The court noted that this case had been stayed on

three separate occasions since its commencement and that the plaintiff had failed to offer any

indication since August 2009 that he wished to continue to prosecute this case. Id. at 2. The

court warned the plaintiff that if he failed to comply with the order to show cause, his case would

be dismissed. Id. To date, the plaintiff has not responded to the order to show cause, nor has any

new counsel entered an appearance on the plaintiff’s behalf.

       It is well-established that the court may dismiss an action for failure to prosecute “to

prevent undue delays in the disposition of pending cases and to avoid congestion in [its]

calendar[].” Link v. Wabash R.R., 370 U.S. 626, 629-30 (1962); see also id. at 633-34 (holding

that “when circumstances [are] appropriate, a District Court may dismiss a complaint for failure


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to prosecute even without affording notice of its intention to do so or providing an adversary

hearing before acting”); LCvR 83.23. Accordingly, it is this 17th day of August, 2010, hereby

       ORDERED that this case is dismissed for failure to prosecute.

       SO ORDERED.



                                                      RICARDO M. URBINA
                                                     United States District Judge




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